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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 TIMOTHY H. DELGADO
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0061-JAM
12                                Plaintiff,            STIPULATION AND ORDER TO CONTINUE
                                                        STATUS CONFERENCE
13                          v.
                                                        Date: September 11, 2018
14   ANDRE RAMON WASHINGTON,                            Time: 9:15 a.m.
     ROLAND ADRIAN JUFIAR, and                          Judge: Hon. John A. Mendez
15   DAVID GARCIA ROMERO,
16                               Defendants.
17

18          Plaintiff United States of America, through its respective counsel, and defendants Andre Ramon

19 Washington, Roland Adrian Jufiar, and David Garcia Romero, through their counsel of record, stipulate

20 that the status conference now set for September 11, 2018, be continued to November 13, 2018, at 9:15

21 a.m.

22          On March 29, 2018, all three defendants were arraigned on the ten-count Indictment in this case.

23 (ECF Nos. 16, 19.) In the weeks following, the government produced discovery to the defense that

24 included over 530 pages of reports and memoranda, roughly 565 photos, and other items. In the coming

25 weeks, the government will be producing an additional set of materials that includes toll records from

26 throughout the investigation. Defense counsel for all three defendants will require additional time to

27 review these new materials, as well as the materials already produced, time to discuss them with their

28 clients, to conduct research into potential suppression issues or motions to dismiss, to conduct additional

      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       1
      STATUS CONFERENCE
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 1 investigation, and to otherwise prepare for trial.

 2          Based on the foregoing, the parties stipulate that the status conference now set for September 11,

 3 2018, be continued to November 13, 2018, at 9:15 a.m. The parties further agree that time under the

 4 Speedy Trial Act should be excluded from the date the parties stipulated, up to and including November

 5 13, 2018, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General Order

 6 479 [Local Code T4], based on continuity of counsel and defense preparation.

 7          The parties agree that the failure to grant a continuance in this case would deny defense counsel

 8 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

 9 The parties also agree that the ends of justice served by the Court granting the requested continuance

10 outweigh the best interests of the public and the defendants in a speedy trial.

11                                                       Respectfully submitted,

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13 Dated: September 7, 2018                              _/s/ Timothy H. Delgado____________
                                                         TIMOTHY H. DELGADO
14                                                       Assistant United States Attorney
                                                         Attorney for Plaintiff United States
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16 Dated: September 7, 2018                              _/s/ THD for David W. Dratman_____
                                                         DAVID W. DRATMAN
17                                                       Attorney for Defendant Andre Washington
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     Dated: September 7, 2018                            _/s/ THD for Megan Virga__________
19                                                       MEGAN VIRGA
                                                         Attorney for Defendant Roland Jufiar
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21 Dated: September 7, 2018                              _/s/ THD for Ronald J. Peters________
                                                         RONALD J. PETERS
22                                                       Attorney for Defendant David Romero
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       2
      STATUS CONFERENCE
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 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendants in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including November

 9 13, 2018, shall be excluded from computation of time within which the trial in this case must begin under

10 the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

11 Order 479 [Local Code T4]. It is further ordered that the September 11, 2018 status conference be

12 continued until November 13, 2018, at 9:15 a.m.

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14 Dated: September 7, 2018                                /s/ John A. Mendez_____________
                                                           Hon. John A. Mendez
15                                                         United States District Court Judge
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
      STATUS CONFERENCE
